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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Case. No. 21-287-1 (TNM)
                                     )
KEVIN SEEFRIED                       )
                                     )
                  Defendant.         )
____________________________________ )


        DEFENDANT’S MOTION FOR RELEASE PENDING APPEAL

      Pursuant to 18 U.S.C. §§ 3141(b) and 3143(b) and Fed. R. Crim. P. 46(c) &

38(b)(1), Defendant Kevin Seefried respectfully moves this Court for release pending

appeal and stay of execution of his sentence. Release is warranted because Mr.

Seefried poses no flight or safety risk, his appeal is not for the purpose of delay, and

his appeal raises a substantial question of law that, if decided in his favor, would

likely result in a reduced imprisonment sentence that would expire before the appeal

concludes. A substantial question exists about whether, as a legal matter, 18 U.S.C.

§ 1512(c)(2) does not apply to Mr. Seefried’s conduct on January 6 and that there was

insufficient evidence to convict him of that count, as the Honorable Judge Nichols

held when dismissing the identical count in United States v. Miller, No. 21-cr-119

(CJN), Dkt. 72 (Mar. 7, 2022). Accord United States v. Rahm, No. 21-cr-150 (RJL),

Dkt. 80 (Feb. 21, 2023) (granting bail pending appeal to individual convicted under

§ 1512(c)(2) and staying execution of sentence pending outcome of appeals in United




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States v. Miller, No. 22-3041 (D.C. Cir.) and United States v. Rahm, No. 23-3012 (D.C.

Cir.)) (attached as Ex. 1).

                                    Background

      On April 27, 2022, Mr. Seefried was charged by indictment with five counts:

Obstruction of an Official Proceeding and Aiding and Abetting under 18 U.S.C.

§ 1512(c)(2) (Count One), Entering and Remaining in a Restricted Building or

Grounds under 18 U.S.C. § 1752(a)(1) (Count Two), Disorderly and Disruptive

Conduct in a Restricted Building or Grounds under 18 U.S.C. § 1752(2) (Count

Three), Disorderly Conduct in a Capitol Building under 18 U.S.C. § 5104(e)(2)(D)

(Count Four), and Parading, Demonstrating, or Picketing in a Capitol Building under

18 U.S.C. § 5104(e)(2)(G) (Count Five). 1

      On June 15, 2022, following a two-day bench trial, this Court convicted Mr.

Seefried of all counts. On February 9, 2023, Mr. Seefried was sentenced to an

aggregate term of 36 months (36 months on Count 1; 12 months on each of Counts 2

and 3; and 6 months on each of Counts 4 and 5, all to run concurrently), followed by

12 months of supervised release. The Court allowed Mr. Seefried to remain on bond

pending a date to be set by the Bureau of Prisons for his self-surrender. The Court

also set a deadline of March 2, 2023, for the defense to file the instant motion for




1Kevin Seefried was charged alongside his son, Hunter Seefried. Hunter was charged
with three additional counts of destruction of property.



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release pending appeal. The government’s opposition is due March 16, 2023, and Mr.

Seefried’s reply is due March 23, 2023.

                       Grounds for Release Pending Appeal

       A court “shall order the release” of an individual pending appeal if it finds:


       (A)   by clear and convincing evidence that the person is not likely to
             flee or pose a danger to the safety of any other person or the
             community if released . . . ; and

       (B)   that the appeal is not for the purpose of delay and raises a
             substantial question of law or fact likely to result in –

             (i)     reversal,


             (ii)    an order for a new trial,


             (iii)   a sentence that does not include a term of imprisonment,
                     or

             (iv)    a reduced sentence to a term of imprisonment less than the
                     total of the time already served plus the expected duration
                     of the appeal process.

18 U.S.C. § 3143(b)(1); see also United States v. Perholtz, 836 F.2d 554, 555, 557 (D.C.

Cir. 1987). Mr. Seefried’s release is required because all of the statutory criteria are

met.

A.     There is no flight or safety risk.

       Mr. Seefried has demonstrated by clear and convincing evidence that he will

not flee and is not a safety risk by his behavior since the outset of this case. Since

January 25, 2021, Mr. Seefried has been released on conditions and a personal



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recognizance bond. Thus for more than two years, he has fully demonstrated his

compliance with all pretrial release conditions placed upon him. As the Court is

aware, Mr. Seefried lives in Laurel, Delaware, is a cancer survivor, and is gainfully

employed installing drywall. His continued employment and ability to earn money

for his family as an hourly wage earner underscores that he will neither flee nor pose

any safety concerns, because doing so would risk his livelihood in the months before

he is incarcerated.

B.    The appeal raises a substantial question and therefore is not for the
      purpose of delay.

      Whether Section 1512(c)(2) applies to Mr. Seefried’s conduct is a substantial

question of law. By appealing this very issue, then, this appeal is not for purposes of

a delay.

      A “substantial question” within the meaning of § 3143(b) is “‘a close question

or one that very well could be decided the other way.’” United States v. Perholtz, 836

F.2d 554, 555 (D.C. Cir. 1987) (per curiam) (quoting United States v. Bayko, 774 F.2d

516, 523 (1st Cir. 1985)). This standard does not require that the Court find that Mr.

Seefried’s appeal establishes a likelihood of reversal before it may grant him release

pending appeal. See Bayko, 774 F.2d at 522-23. Rather, the Court must “evaluate the

difficulty of the question” on appeal, and grant release pending appeal if it determines

that the question is a close one or one that “’very well could be’” decided in the

defendant’s favor. United States v. Shoffner, 791 F.2d 586, 589 (7th Cir. 1986)

(quoting United States v. Giancola, 754 F.2d 898, 901 (11th Cir.1985)).


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      As the Court is aware, the legal propriety of the felony obstruction count,

charging 18 U.S.C. § 1512(c)(2), was challenged in this case. Mr. Seefried made three

arguments supporting dismissal of this count. First, the statutory language,

legislative history, and legal precedent reflect that § 1512(c)(2) prohibits only the

corrupt obstruction of tribunal-like proceedings before Congress related to the

administration of justice, not a proceeding like the certification of the electoral college

vote. Second, the conduct Mr. Seefried was accused of committing cannot qualify as

conduct that “otherwise obstructs, influences, or impedes” an official proceeding, as §

1512(c)(2) is limited by § 1512(c)(1). As such, subsection (c)(2) prohibits only conduct

that undermines an official proceeding’s truth-finding function through actions

impairing the integrity and availability of evidence. Third, as charged, § 1512(c)(2)

does not provide fair notice that “official proceedings” includes proceedings unrelated

to the administration of justice, and the statute’s mens rea requirement—that the

criminal act be committed “corruptly”—lacks a limiting principle, rendering the

statute unconstitutionally vague as applied to Mr. Seefried. [ECF. No. 37].

      These are “close question[s] or one[s] that very well could be decided the other

way.” Perholtz, 836 F.2d at 555. Indeed, substantiality is not hypothetical here:

another judge in this district has in fact credited the second argument under a lenity

analysis and consequently dismissed a § 1512(c)(2) count in a January 6 prosecution.

See United States v. Miller, No. 21-cr-119 (CJN), Dkt. 72. That ruling has now been

appealed, with oral argument in the D.C. Circuit held on December 12, 2022. See



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United States v. Miller, No. 22-3041 (D.C. Cir.). The fact that oral argument was

ordered further demonstrates that the question it raises is substantial, because one-

sided questions are typically submitted on the briefs without argument. See D.C. Cir.

R. 34(a)(2).

C.     Resolution of this substantial question in Mr. Seefried’s favor would
       likely result in a reduced imprisonment sentence that would expire
       before the appeal concludes.

       If decided in Mr. Seefried’s favor, his appellate challenge to § 1512(c)(2) would

likely result in a reduced imprisonment sentence that would expire before the appeal

concludes. Mr. Seefried’s three-year sentence is driven by the 36 months imposed on

the felony § 1512(c)(2) count; the remaining, concurrent sentences for his

misdemeanor counts were all substantially less—only 12 months on each of Counts

2 and 3 and only 6 months on each of Counts 4 and 5, representing the maximum

sentence statutorily authorized on those counts.

       It is likely that his sentence on the remaining counts would be even lower if

the felony conviction was overturned. Under the sentencing-package doctrine, all of

the misdemeanor sentences would be vacated upon the reversal of the felony

obstruction conviction. “This result rests on the interdependence of the different

segments of the sentence, such that removal of the sentence on one count draws into

question the correctness of the initial aggregate minus the severed element.” United

States v. Smith, 467 F.3d 785, 789 (D.C. Cir. 2006).




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      In fact, not only are the misdemeanor sentences already much lower than Mr.

Seefried’s felony sentence, there is reason to believe the misdemeanor sentences

would have been even lower if no felony conviction existed. The best indicator of Mr.

Seefried’s likely sentence without the felony obstruction conviction is what this Court

has most frequently imposed on misdemeanor-only January 6 defendants whose

conduct and history are similar to Mr. Seefried’s: less than a month of incarceration

or probation only. See, e.g., United States v. Winn, No. 21-cr-139-1 (TNM) (10 days’

incarceration); United States v. Griffin, No. 21-cr-92 (TNM) (14 days’ incarceration);

United States v. Cordon, No. 21-cr-277 (TNM) (12 months’ probation); United States

v. Cudd, No. 21-cr-68-1 (TNM) (2 months’ probation); United States v. Pert, No. 21-

cr-139-1 (TNM) (24 months’ probation).

      Moreover, resolution of the § 1512(c)(2) appeal in Mr. Seefried’s favor is very

likely to result in a sentence less than the total of the time already served given the

expected duration of the appeal process. The current median time interval from the

filing of a notice of appeal to disposition in the D.C. Circuit is 11.3 months. 2 Mr.

Seefried’s appeal may take even longer, however, because it will likely be held by the

D.C. Circuit pending Miller. Given that Mr. Seefried’s remaining sentences are 12

months or less, even if nothing else changes, his sentence absent the obstruction



2U.S. Courts of Appeals––Median Time Intervals in Months for Cases Terminated
on the Merits, by Circuit, During the 12-Month Period Ending September 30, 2021
(Table B-4), available at
https://www.uscourts.gov/sites/default/files/data_tables/jb_b4_0930.2021.pdf.


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count will be less than the likely appellate process plus time already served. And if

Miller is decided favorably in the near future resulting in an immediate remand of

Mr. Seefried’s case, perhaps the most likely reduced imprisonment sentence for his

misdemeanor counts—less than a month—would almost certainly expire before his

appeal concludes.

                                    Conclusion

      For these reasons, Mr. Seefried respectfully moves for release pending appeal

and stay of execution of his sentence.




                                             Respectfully Submitted,

                                             A. J. KRAMER

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                                             District of Columbia

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